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1
                               UNITED STATES DISTRICT COURT
2
                              FOR THE DISTRICT OF PUERTO RICO
3

4
     MARKETFLEET PUERTO RICO, INC.,               CASE No.: 3:18-cv-0112
5
     derivatively on behalf of                    COMPLAINT FOR DECLARATORY
6                                                 JUDGEMENT OF
     MARKETFLEET, INC.                            UNENFORCEABILITY OF PATENT;
7                                                 DERIVATIVE ACTION
                         Plaintiff,
8                                                 JURY TRIAL DEMANDED
               vs.
9

10   YARDSTASH SOLUTIONS, LLC.
11
                      Defendant.
12

13

14
                                      VERIFIED COMPLAINT
15
     TO THIS HONORABLE COURT:
16
           COMES NOW Plaintiff MARKETFLEET INC. (hereinafter “MFI”), through
17

18
     MARKETFLEET PUERTO RICO, INC. (hereinafter “Marketfleet”), and by and through

19   the undersigned attorney, hereby files this Complaint against Defendant Yardstash
20   Solutions, Inc. (hereinafter “Defendant”), and respectfully states, alleges, and
21   prays as follows:
22
                                       I. INTRODUCTION
23
            1. Marketfleet brings this action seeking a declaratory judgment that
24
     Marketfleet’s Outdoor Portable, Bike Tent, Garden Equipment, Pool Storage, and
25
     Organizer Shed (also referred to as the “Driftsun® Storage Tent”) does not infringe
26

27
                                      VERIFIED COMPLAINT - 1
28
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1
     Defendant’s U.S. Design Patent No. D689,579 (“the ‘579 patent”) entitled “Storage
2    Unit”, granted on September 10, 2013, and assigned to Defendant Yardstash on
3    October 25, 2016. Marketfleet also seeks a declaratory judgment that the ‘579
4    patent is invalid and/or unenforceable.
5
            2. Marketfleet is the result of the alliance between MFI, relying on Puerto
6
     Rico’s portrayal as a jurisdiction welcoming investment, as well as the
7
     incorporation of technologically industries, recognizing the Puerto Rico’s highly
8
     skilled labor, and manufacturing.
9

10
            3. Unfortunately, Defendant’s claim to own the ‘579 resulted in multiple
11   threatening letters against Marketfleet, that drastically disrupted Marketfleet’s
12   business operations.
13          4. As such, this action seeks relief for MFI from the imminent threat of
14
     patent infringement through a declaration of unenforceability of the
15
     mischievously ‘579 Patent.
16
            5. Declaratory relief is warranted to determine that the ‘579 Patent is
17

18
     currently unenforceable.

19          6. The infringement allegations by Defendant put at risk the multi-million-
20   dollar investment made by Marketfleet and the good name of Puerto Rico as a
21   center for technology investment, and manufacturing.
22
                                         II. THE PARTIES
23
            7. MFI is a corporation organized under the laws of the State of Delaware
24
     with places of business in Delaware, California, and Puerto Rico.
25

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                                    VERIFIED COMPLAINT - 2
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1
            8. Marketfleet is a corporation organized and existing under the laws of the
2    Commonwealth of Puerto Rico having a principal place of business at 1225 Ponce
3    de Leon Ave., Suite PH#5-726, San Juan PR 00907.
4           9. Defendant Yardstash is a limited liability company organized under the
5
     laws of the State of California with its principal place of business located at 13223-
6
     1 Black Mountain Road, Suite 379, in the City of San Diego, County of San Diego,
7
     State of California.
8
                               III. JURISDICTION AND VENUE
9

10
            10. Jurisdiction is conferred upon this Honorable Court as this is an action
11   arising under 28 U.S.C. § 1331 and § 1338 since the matter in controversy arises
12   under the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, pursuant
13   to the Patent Laws of the United States, 35 U.S.C. §§101 et seq.
14
            11. Defendants are subject to this Court’s specific and general personal
15
     jurisdiction pursuant to due process, because substantially all of the operative
16
     facts, including Defendant Yardstash threats against Marketfleet business, arose
17

18
     in Puerto Rico.

19          12. This Court has personal jurisdiction over Defendant; and venue in this
20   district is proper pursuant to 28 U.S.C. §1391(b) and (c) because, upon information
21   and belief, Defendant has engaged in acts constituting doing business in the
22
     Commonwealth of Puerto Rico, including in this judicial district. Upon information
23
     and belief, Defendant transacts and does business in Puerto Rico, including selling
24
     and promoting products embodying the claims of its ‘579 patent.
25

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                                     VERIFIED COMPLAINT - 3
28
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1
                                IV. NATURE OF THE ACTION
2           13. Marketfleet seeks relief from the imminent threat of patent
3    infringement through a declaration of unenforceability of patent, which may be
4    granted under the Declaratory Judgment ACT, 28 USC §§2201-22012, and Rule 57
5
     of the Federal Rules of Civil Procedure.
6
            14. Marketfleet, also requests relief under Federal Rule of Civil Procedure
7
     23.1 and 14 L.P.R.A. § 4003, governing derivative actions.
8
                                 V. STATEMENT OF FACTS
9

10
            15. On September 10, 2013, U.S. Design Patent No. D689,579 was granted
11   to inventor George V. Barker from San Diego, California. See Exhibit A.
12          16. In response to the popularity of Marketfleet’s Driftsun® Storage Tent,
13   on January 11 2016, Defendant sent MFI a threatening letter, wrongfully accusing
14
     MFI of infringing Defendant’s patent based on its sale of the Portable Organizer
15
     Shed and engaging in California Unfair Competition (Bus. & Prof. Code § 17200, et
16
     seq.). See Exhibit B.
17

18
            17. Notwithstanding the above, on October 25, 2016, George V. Barker, on

19   a document entitled “ASSIGNMENT OF PATENT APPLICATION AND PATENTS”,
20   sworn and subscribed before California Public Notary Heidi Nangle, assigned and
21   transferred the rights of the ‘579 patent to Defendant Yardstash Solutions LLC. See
22
     Exhibit C.
23
            18. Thereafter, and on March 28th, 2017, Defendant filed suit against
24
     Marketfleet’s affiliate, and licensee MFI wrongfully asserting that the Driftsun®
25
     Storage Tent product infringes Defendant’s ‘579 patent. See, Yardstash Solutions,
26

27
                                    VERIFIED COMPLAINT - 4
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1
     LLC. v. MARKETFLEET, INC., and DOES 1 THROUGH 25, inclusive, Civil Action No.
2    1:17-cv-0625 (Southern Dist. Of California. 2017) (“the California litigation”).
3              19. The California litigation is the subject of a pending Motion to Dismiss
4    due to Improper Venue submitted by MFI, following the US Supreme Court
5
     decision on TC Heartland LLC v. Kraft Foods Group Brands LLC, 581 U. S. ____
6
     (2017).
7
               20. Marketfleet has imported into the United States the Driftsun® Storage
8
     Tent product which is at issue in the California litigation. An image of the Driftsun®
9

10
     Storage Tent product is attached hereto as Exhibit D.
11             21. Defendant takes the position that the Driftsun® Storage Tent product
12   in Exhibit D infringes the ‘579 patent.
13             22. Defendant also takes the position that the ‘579 patent is valid and
14
     enforceable.
15
               23. However, the Driftsun® Storage Tent product in Exhibit D does not
16
     infringe the ‘579 patent.
17

18
               24. In addition, the ‘579 patent is invalid and unenforceable.

19             25. Defendant has asserted in the California litigation that the Driftsun®
20   Storage Tent product of Exhibit D infringes the ‘579 patent, therefore parting from
21   the premise that the ‘579 patent is valid.
22
               26. As a result of Defendant’s litigation over the product of Exhibit D and
23
     the ‘579 patent, and the circumstances surrounding that litigation, an actual,
24
     present, and justiciable controversy has arisen between Marketfleet and
25
     Defendant over the Driftsun® Storage Tent product.
26

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                                       VERIFIED COMPLAINT - 5
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1
            27. Accordingly, Marketfleet respectfully requests that the Court issues a
2    declaratory judgment confirming that Marketfleet, is not infringing Defendant’s
3    patent rights as a result of its sale, offer to sell, distribution, or marketing of the
4    Driftsun® Storage Tent, including any valid patent claims identified by Defendant.
5
     The specific patent identified by Defendant is listed below.
6
              a. Invalidity of Defendant’s ‘579 Patent due to existing prior art
7
            28. Marketfleet repeats and re-alleges each and every allegation set forth
8
     in the preceding paragraphs of this Complaint.
9

10
            29. Defendant is currently listed as the assignee of the ‘579 patent. A copy
11   of the ‘579 patent, and its respective assignment of rights are attached as Exhibit
12   A, and F, respectively.
13          30. The ‘579 patent is legally limited to the scope of the patent claims set
14
     forth therein.
15
            31. Marketfleet’s product does not infringe the claims of the ‘579 patent
16
     because the accused product does not fall within the scope of the patent’s claims.
17

18
            32. Moreover, if Defendant maintains that the Marketfleet product falls

19   within the scope of the ‘579 patent claims, then the ‘579 patent also falls within
20   the scope of the disclosure, either by the doctrine of equivalents, or literal
21   infringement, as viewed by an ordinary observed in light of the following prior art
22
     shown on Exhibit E:
23
                  a. U.S. Patent No. 1,290,824 (“the ‘824 patent”), entitled “Tent”. Since
24
          the ‘824 patent was issued on January 7, 1919, about ninety-three (93) years
25

26

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                                     VERIFIED COMPLAINT - 6
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1
     before the ‘579 patent was filed, the ‘579 patent would necessarily be
2    invalid.
3           b. U.S. Patent No. 2,246,813 (“the ‘813 patent”), entitled “Vehicle Bed
4    Construction”. Since the ‘813 patent was issued on June 24, 1941, about
5
     seventy-two (72) years before the ‘579 patent was filed, the ‘579 patent
6
     would necessarily be invalid.
7
            c. U.S. Patent No. 2,646,057 (“the ‘057 patent”), entitled “Tent
8
     Construction”. Since the ‘057 patent was issued on July 21, 1953, about sixty
9

10
     (60) years before the ‘579 patent was filed, the ‘579 patent would necessarily
11   be invalid.
12          d. U.S. Patent No. 2,963,030 (“the ‘030 patent”), entitled “Portable
13   Collapsible Shelter”. Since the ‘030 patent was issued on December 6, 1960,
14
     about fifty-three (53) years before the ‘579 patent was filed, the ‘579 patent
15
     would necessarily be invalid.
16
            e. U.S. Patent No. 3,027,189 (“the ‘189 patent”) entitled “Collapsible
17

18
     Shelter”. Since the ‘189 patent was issued on March 27, 1962, about fifty-

19   one (51) years before the ‘579 patent was filed, the ‘579 patent would
20   necessarily be invalid.
21          f. U.S. Patent No. 3,168,101 (“the ‘101 patent”), entitled “Outside
22
     Frame Tent”. Since the ‘101 patent was issued on February 2, 1965, about
23
     forty-seven (47) years before the ‘579 patent was filed, the ‘579 patent
24
     would necessarily be invalid.
25

26

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                               VERIFIED COMPLAINT - 7
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1
            g. U.S. Patent No. 3,536,083 (“the ‘083 patent”), entitled “Portable
2    Camping Shelter”. Since the ‘083 patent was issued on October 27, 1970,
3    about forty-three (43) years before the ‘579 patent was filed, the ‘579 patent
4    would necessarily be invalid.
5
            h. U.S. Patent No. 3,913,968 (“the ‘968 patent”), entitled “Collapsible
6
     Camper”. Since the ‘968 patent was issued on October 21, 1975, about thirty-
7
     eight (38) years before the ‘579 patent was filed, the ‘579 patent would
8
     necessarily be invalid.
9

10
            i. U.S. Patent No. 4,114,633 (“the ‘633 patent”), entitled “Camping
11   tent for motorcycles and cyclists”. Since the ‘633 patent was issued on
12   September 19, 1978, about thirty-nine (39) years before the ‘579 patent was
13   filed, the ‘579 patent would necessarily be invalid.
14
            j. U.S. Patent No. 4,612,948 (“the ‘948 patent), entitled “Portable
15
     shelter or tent enclosure, structures and components therefor”. Since the
16
     ‘948 patent was issued on September 23, 1986, about twenty-seven (27)
17

18
     years before the ‘579 patent was filed, the ‘579 patent would necessarily be

19   invalid.
20          k. U.S. Design Patent No. D331,441 (“the ‘441 patent”), entitled
21   “Tent”. Since the ‘441 patent was issued on December 1, 1992, about
22
     twenty-one (21) years before the ‘579 patent was filed, the ‘579 patent
23
     would necessarily be invalid.
24
            l. U.S. Design Patent No. D332,986 (“the ‘986 patent”), entitled
25
     “Tent”. Since the ‘986 patent was issued on February 2, 1993, about nineteen
26

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                               VERIFIED COMPLAINT - 8
28
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1
     (19) years before the ‘579 patent was filed, the ‘579 patent would necessarily
2    be invalid.
3           m. U.S. Design Patent No. D358,191 (“the ‘191 patent”), entitled
4    “Tent”. Since the ‘191 patent was issued on May 9, 1995, about eighteen (18)
5
     years before the ‘579 patent was filed, the ‘579 patent would necessarily be
6
     invalid.
7
            n. U.S. Design Patent No. 5,372,156 (“the ‘156 patent”) entitled
8
     “Bicycle supported tent”. Since the ‘156 patent was issued on December 13,
9

10
     1994, about nineteen (19) years before the ‘579 patent was filed, the ‘579
11   patent would necessarily be invalid.
12          o. French Design No. 992588-0001 (“the ‘588 design”), from 1999,
13   entitled “Tente transportable pour enfant destinée aux activités de plein air”.
14
     Since the ‘588 design was registered on April 21, 1999, about thirteen (13)
15
     years before the ‘579 patent was filed, the ‘579 patent would necessarily be
16
     invalid.
17

18
            p. U.S. Design Patent No. D468,793 (“the ‘793 patent), entitled

19   “Vehicle simulative child tent”. Since the ‘793 patent was issued on January
20   14, 2003, about nine (9) years before the ‘579 patent was filed, the ‘579
21   patent would necessarily be invalid.
22
            q. Chinese Design No. 201230271510.4 (“the ‘510.4 design”), entitled
23
     “Tent (XINYE Outdoors X2-B)”. Since the ‘510.4 design was registered on May
24
     12, 2012, thirteen (13) days before the ‘579 patent was filed, the ‘579 patent
25
     would necessarily be invalid.
26

27
                               VERIFIED COMPLAINT - 9
28
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1
                  b. Invalidity of Defendant’s ‘579 Patent due to functionality
2           33. Marketfleet repeats and re-alleges each and every allegation set forth
3    in the preceding paragraphs of this Complaint.
4           34. The ‘579 design patent is invalid and unenforceable for failure to
5
     comply with one or more of the conditions for patentability set forth in the Patent
6
     Laws of the United States Code, Title 35 at least in Sections 102, 103, and 112, 115,
7
     171 and/or 282.
8
            35. Furthermore, the ‘579 patent is invalid, as its appearance is dictated by
9

10
     function, in other words, it is a primarily functional appearance, and therefore
11   lacks ornamentality.
12          36. The ‘579 patent is invalid and/or unenforceable based on various prior
13   art references.
14
            37. Those references, include, but are not necessarily limited to, those
15
     listed above, which predate the priority date of the patent-in-suit.
16
            38. Based on, inter alia, the above referenced patents, the ‘579 patent is
17

18
     invalid.

19          39. The ‘579 design patent should be declared invalid due to the fact that,
20   inter alia, it is anticipated by and/or obvious over the prior art under 35 U.S.C. §§
21   102 and 103 respectively, and/or is invalid under the provisions of 35 U.S.C. § 112,
22
     including, but not limited to, indefiniteness.
23
                             c. Unenforceability of the '579 Patent
24
            40. Marketfleet repeats and re-alleges each and every allegation set forth
25
     in the preceding paragraphs of this Complaint.
26

27
                                     VERIFIED COMPLAINT - 10
28
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1
     i. Persons Owing a Duty of Candor to the Patent Office during Prosecution of
     the '579 patent
2

3           41. U.S. Patent Application No. 29/423,037 (“the ‘037 Application”),
4    entitled "STORAGE UNIT" was filed on May 25, 2012. The '037 application issued
5
     as the '579 Patent on September 10, 2013.
6
            42. The '037 Application was assigned to primary examiner CHIN, CYNTHIA
7
     M, from Group Art Unit 2917, for examination.
8
            43. The Application Data Sheet submitted with the '037 Application names
9

10
     George V. Barker, from San Diego, California as the sole inventor.
11          44. Inventor Barker signed a "Declaration (37 CFR 1.63) FOR UTILITY OR
12   DESIGN APPLICATION USING AN APPLICATION DATA SHEET (37 CFR 1.76)" in
13   connection with the '037 Application on or about May 25, 2012. A copy of the '216
14
     Declaration is attached hereto as Exhibit F.
15
            45. In signing the '037 Declaration, inventor Barker made the following
16
     acknowledgement (Ex. F, '037 Declaration at 1.):
17
                  I/we believe I/we am/are the original and first investor(s)
18
                  of the subject matter which is claimed and for which a
19                patent is sought.
20
                  I/we have reviewed and understand the contents of the
21
                  above-identified application, including the claims as
22                amended by any amendment specifically referred to
23                above.
24
                  I/we acknowledge the duty to disclose information to the
25                United States Patent and Trademark Office all
26                information known to me/us to be material to
27
                                    VERIFIED COMPLAINT - 11
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1
                  patentability as defined in 37 CFR 1.56, including for
                  continuation-in-part applications, material information
2
                  which became available between the filing date of the
3                 prior application and the national or PCT international
4
                  filing date of the continuation-in-part application.

5
                                          WARNING:
6                 […]
7
                  All statements made herein of my/our own knowledge
                  are true, all statements made herein on information and
8
                  belief are believed to be true, and further that these
9                 statements were made with the knowledge that willful
10
                  false statements and the like are punishable by fine or
                  imprisonment, or both, under 18 U.S.C. 1001, and may
11
                  jeopardize the validity of the application or any patent
12                issuing thereon.
13
            46. The foregoing individual identified in paragraphs 35–37 above (namely
14
     inventor Barker) thus owed a duty of candor to the USPTO during prosecution of
15

16   the '037 Application.
17          47. As set forth below, upon information and belief, particularly inventor
18   Barker, breached his duty of candor to the USPTO by failing to disclose material
19   information with an intent to deceive the USPTO.
20

21

22
     ii. The Non-Disclosure of Prior Art Reference
23

24          48. During the prosecution of the '037 Application, the inventor never
25
     disclosed a single reference of prior art to the Examiner in charge of evaluating the
26

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                                    VERIFIED COMPLAINT - 12
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1
     application. As such, the inventor with a duty to disclose material information,
2    failed to disclose material prior art with the intent to mislead the Examiner.
3           49. In particular, on or about October 4 2010, George V. Barker from San
4    Diego California, and Scott R. Gant from Poway, California; filed with the USPTO a
5
     U.S. Patent Application No. 29/376,216 with the goal of obtaining a design patent
6
     for a “Storage Unit”. Said application was later granted as U.S. Design Patent No.
7
     D661,513 (“the ‘513 patent”). A copy of the ‘513 patent is attached hereto as
8
     Exhibit G, and discloses:
9

10

11

12

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21

22          50. The ‘513 referenced patent was filed prior to the earliest alleged
23   priority date of the '037 application both having a common inventorship (Barker).
24
     As such, and based on its filing and priority dates, the ‘513 reference would clearly
25

26

27
                                    VERIFIED COMPLAINT - 13
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1
     qualify as prior art to the Patent-in-Suit under at least 35 U.S.C. §§ 102(a), (b)
2    and/or 103.
3           51. Despite having first-hand knowledge of the ‘513 reference and its
4    materiality, Barker did not disclose the existence of the ‘513 reference to the
5
     USPTO during prosecution of the '037.
6
            52. Upon information and belief, at least inventor Barker was aware of the
7
     ‘513 patent and its materiality during prosecution of the '037 Application.
8
            53. Indeed, in view of the non-disclosure of the ‘513 patent to the USPTO,
9

10
     the single most reasonable inference can be drawn from inventor Barker’s failure
11   to disclose the ‘513 patent is an intent to deceive the USPTO.
12          54. Clearly, inventor Barker could have submitted an Information
13   Disclosure Statement (“IDS”) at least as early as the filing date of the '037
14
     Application, and certainly prior to the issue date, so the examiner could have
15
     examined the claims in light of the ‘513 patent. Nevertheless, the failure of Barker
16
     to disclose the ‘513 patent to the USPTO, particularly when he is named inventor
17

18
     on both patent applications show his intent to deceive the USPTO, thereby

19   rendering the '579 Patent unenforceable.
20                                    VI. FIRST COUNT
21    (Declaration of Invalidity and Unenforceability of Defendant’s Alleged Patent)
22
            55. Marketfleet repeats and re-alleges each and every allegation set forth
23
     in the preceding paragraphs of this Complaint.
24
            56. The ‘579 patent for a Storage Unit is invalid under 35 USC §102, 103,
25
     112, 116, and/or 282, or under the judicially created doctrines of invalidity.
26

27
                                    VERIFIED COMPLAINT - 14
28
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1
            57. Marketfleet seeks declaratory judgment that the ‘579 patent is invalid
2    and/or unenforceable, for at least these grounds, and for any and all other grounds
3    of invalidity and unenforceability available under federal law, the Patent Act,
4    including, but not limited to, 35 U.S.C. §§ 102, 103, and 112.
5
            58. The ‘579 patent is unenforceable due to inequitable conduct pursuant
6
     to 37 CFR § 1.56;
7
            59. Marketfleet reserves the right to amend its allegations and/or this
8
     Complaint to add any further defenses once further discovery has been conducted
9

10
     in this matter.
11                                  VII. SECOND COUNT
12                            (Declaratory judgement action)
13          60. Marketfleet repeats and re-alleges each and every allegation set forth
14
     in the preceding paragraphs of this Complaint.
15
            61. Marketfleet seeks declaratory judgment that the manufacture,
16
     importation, use, offer for sale, and/or sale of the Outdoor Storage Shed product
17

18
     because it does not infringe on Defendant’s alleged design patent, and does not

19   otherwise violate any of Defendant’s patent rights under federal law including
20   because of Count I.
21          62. Furthermore, this action seeks an appropriate relief that does not
22
     interfere with the pending California litigation, an action that has been pending for
23
     approximately ten months, where no trial date has been set or settlement
24
     conference scheduled, and has yet to address any patent ownership or validity
25

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                                    VERIFIED COMPLAINT - 15
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1
     issue, which is the one of the primary concerns regarding this Declaratory
2    Judgement Action.
3                                      VIII. THIRD COUNT
4                      (Declaration of Lack of Damages to Defendant)
5
           63. Marketfleet repeats and re-alleges each and every allegation set forth in
6
     the preceding paragraphs of this Complaint.
7
           64. Marketfleet seeks declaratory judgment that Defendant has no claim for
8
     monetary damages from Marketfleet alleged activities because, inter alia, the
9

10
     patent asserted by Defendant is invalid, unenforceable, and not infringed.
11                                        IX. FOURTH COUNT
12                                        (Derivative Action)
13         65. Marketfleet re-alleges and incorporates by reference each and every
14
     allegation as if fully set forth herewith.
15
           65. Marketfleet brings this action derivatively on behalf of and for the
16
     benefit of Marketfleet, Inc., a Delaware Corporation to redress the wrongs claimed
17

18
     herein against Defendant Yardstash.

19         67. Marketfleet is an affiliate company of Marketfleet, Inc. and will
20   adequately and fairly represent the interests of Marketfleet, Inc. and its Members
21   by vindicating its rights that the Defendant Yardstash refuses to recognize.
22
     Marketfleet, on behalf of Marketfleet, Inc., has retained counsel competent and
23
     experienced in the matters claimed in this Complaint.
24
           68. Marketfleet was a manager of MFI at the time of the relevant facts
25
     alleged herein and has continued to hold its interest in MFI since that time.
26

27
                                     VERIFIED COMPLAINT - 16
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1
            69. The wrongful acts complained of herein subject, and will persist in
2    subjecting, MFI to continuing harm because the adverse consequences of the
3    injurious actions are still in effect and ongoing. Including Defendant’s threats of
4    patent infringement of the ‘579 Patent; which to this day continues to exist.
5
            70. The Demand meets the requirements for a derivative action to be
6
     actionable by Marketfleet as majority owner of MFI.
7
            71. Further, this Second Count is not a collusive one to confer jurisdiction
8
     that this court would otherwise lack since the court has independent federal
9

10
     question jurisdiction arising from the patent claims described in the above counts.
11                                  X. JURY TRIAL DEMAND
12          72. Pursuant to Rule 38, Fed. R. Civ. P. Plaintiffs hereby demand a trial by
13   jury on all issues set forth herein that are properly triable to a jury.
14
                                    XI. PRAYER FOR RELIEF
15
            WHEREFORE, pursuant to the Federal Declaratory Judgment Act, 28 U.S.C.
16
     §§ 2201 and 2202, and the Patent Act, 35 U.S.C. §§ 101, et seq., Marketfleet prays
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18
     for relief as follows:

19          A. That a judgment be entered declaring that Defendant’s ‘579 patent
20             entitled “Storage Unit” is invalid and unenforceable.
21          B. That a judgment be entered declaring that the claims of the '579 Patent
22
               are unenforceable due to inequitable conduct.
23
            C. That Defendant be preliminary and permanently enjoined from
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               threatening or initiating infringement litigation against Marketfleet
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               concerning the '579 Patent.
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                                     VERIFIED COMPLAINT - 17
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1
           D. That a judgment be entered declaring that the Driftsun® Storage Tent
2             has not infringed and does not infringe, whether directly or indirectly,
3             literally or by equivalents, any valid claim of the '579 Patent;
4          E. That a judgment be entered declaring that Marketfleet, its customers,
5
              affiliates, licensees, and suppliers have the right to import, make, use,
6
              sell, and offer for sale the Driftsun® Storage Tent, and that Plaintiff
7
              Marketfleet’s product does not infringe Defendant’s patent rights, if any.
8
           F. That a judgement be entered awarding Marketfleet its costs and
9

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              attorneys’ fees under 35 U.S.C § 285, and any and all other applicable
11            law.
12         G. That judgment be entered finding and declaring that this case is
13            exceptional under 35 U.S.C. § 285, and accordingly that Marketfleet is
14
              entitled to recover reasonable attorneys' fees and costs upon prevailing
15
              in this action; and
16
           H. That Marketfleet be awarded such other relief as this Court deems just
17

18
              and equitable, or which the Court deems just and proper.

19

20         I HEREBY CERTIFY that this document has been tendered for filing by
21   electronic means and pursuant to FRCP 5(b)(2)(E) and 5(b)(3) and Puerto Rico Local
22
     Rule 5(b)(2), receipt of the Notice of Electronic Filing generated by the Court's
23
     Electronic Case Filing System constitutes the equivalent of service of the instant
24
     motion to all pertinent persons.
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                                    VERIFIED COMPLAINT - 18
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            Case 3:18-cv-01112-FAB Document 1 Filed 02/26/18 Page 19 of 19




1
                            STATEMENT UNDER PENALTY OF PERJURY
2          I, Christian Benjamin Friedland, of legal age, married, resident of Dorado,
3    Puerto Rico, hereby state under penalty of perjury, pursuant to the laws of the
4    United States of America, 28 U.S.C. 1746, that I have read the foregoing Verified
5
     Complaint and its supporting exhibits and that, to the best of my knowledge and
6
     belief, and/or pursuant to the information and documents in Plaintiff’s possession,
7
     all allegation contained herein are true and correct.
8

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12                                                   MARKETFLEET PUERTO RICO, INC.
13
                              Christian Benjamin Friedland, Authorized Representative
14
           RESPECTFULLY SUBMITTED
15

16                In San Juan, Puerto Rico this February 26th, 2018.
17                                                                 By: /s/ Vianni Lopez
                                                                           Vianni Lopez
18
                                                   Lead Attorney, USDC PR No. 300113
19                                                             viannilopez@gmail.com
20                                                           Lopez Rodriguez Law Firm
                                                                       PO BOX 360308
21
                                                              San Juan, PR 00936-0308
22                                                          Telephone: (925) 983-5745
23                                                           Facsimile: (530) 763-6748
                                                                  Attorney for Plaintiff
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                                    VERIFIED COMPLAINT - 19
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